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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:          13-40884 GKL                                                              Trustee: (330610)           Dana S Frazier, Trustee
Case Name:            OLDLAW CORPORATION                                                        Filed (f) or Converted (c): 08/13/13 (f)
                                                                                                §341(a) Meeting Date:       09/27/13
Period Ending:        12/31/16                                                                  Claims Bar Date:            01/25/17

                                  1                                          2                         3                          4                  5                    6

                        Asset Description                                 Petition/            Estimated Net Value             Property         Sale/Funds           Asset Fully
             (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                           Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                                                 Remaining Assets

 1       200,400 sq. ft. industrial facility                             2,200,000.00                 1,690,925.99                               1,690,925.99                    FA
           at 1 Industrial Park Rd.,
         Metropolis, IL, on 14 acres. 2 external steel buildings, one
         is 3,600 sq. ft., the other is 8,400 sq. ft.

 2       Chase Bank Account                                                  9,377.30                      7,074.16                                  7,074.16                    FA

 3       11 filing cabinets                                                      550.00                       99.00                                       99.00                  FA



 4       Petty Cash (u)                                                            0.00                        7.57                                        7.57                  FA

 5       ET Laidlaw Corporation c/o Marshall & Insley (u)                          0.00                        0.00                                        0.00                  FA
           Trust Company
         David C. Hawley
         653 HIll Rd. Winnitka, IL 60093
         the membership interests of which are owned by Oldlaw,
         is only authorized as trustee, plan administrator, and
         named fiduciary with respect to both the ESOP and the
         401K plan. (Asset added per Amended Schedule B)

 6       forklift                                                            1,500.00                        257.10                                      257.10                  FA

 7       13 work station desks                                               1,300.00                        234.00                                      234.00                  FA

 8       16 rolling desk chairs                                                  320.00                       57.60                                       57.60                  FA

 9       25 break room tables                                                    500.00                       85.00                                       85.00                  FA
10       38 stackable chairs                                                     380.00                       68.40                                       68.40                  FA

11       7 Up machine                                                            400.00                       72.00                                       72.00                  FA

                                                                                                                                                Printed: 01/05/2017 01:14 PM   V.13.28
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Ref. #                                                                                         and Other Costs)                                                Remaining Assets

12       8 metal shelves                                                       240.00                       43.20                                      43.20                   FA

13       conference table                                                       35.00                        6.30                                       6.30                   FA

14       ice machine                                                            50.00                        9.00                                       9.00                   FA

15       lockers                                                                40.00                        7.20                                       7.20                   FA

16       misc brak room supplies (coffee pots, etc.)                            40.00                        7.20                                       7.20                   FA

17       misc computer components                                               50.00                        9.00                                       9.00                   FA

18       setee with two upholstered chairs                                     250.00                       45.00                                      45.00                   FA
           and 4 end tables

19       CNA Proceeds (u)                                                        0.00                 262,918.00                                        0.00          262,918.00
           (see Order on application to compromise controversy
         entered 12/13/16)

19       Assets             Totals (Excluding unknown values)        $2,215,032.30                 $1,961,925.72                              $1,699,007.72          $262,918.00


     Major Activities Affecting Case Closing:
              12-31-16 Case reopened on October 26, 2016, and Trustee reappointed to administer additional assets. Once funds received on asset #19 per order entered
              12/13/16, Trustee will prepare final tax returns prior to TFR




                                                                                                                                              Printed: 01/05/2017 01:14 PM   V.13.28
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                              1                                       2                         3                          4                  5                    6

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Ref. #                                                                                    and Other Costs)                                                Remaining Assets

    Initial Projected Date Of Final Report (TFR): June 1, 2014                       Current Projected Date Of Final Report (TFR): December 30, 2017




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